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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21

22    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
23                                                    GOOGLE LLC’S ADMINISTRATIVE
             Plaintiffs,                              MOTION TO SEAL PORTIONS OF
24                                                    GOOGLE LLC’S ADMINISTRATIVE
                                                      MOTION FOR CLARIFICATION OF
             v.                                       JUNE 13, 2022 DISCOVERY ORDER
25
                                                      (DKT. 700)
26    GOOGLE LLC,
                                                      Judge: Hon. Susan van Keulen, USMJ
27           Defendant.

28
                                                                  Case No. 4:20-cv-5146-YGR-SVK
                                   GOOGLE LLC’S ADMINISTRATIVE MOTION TO SEAL PORTIONS OF
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 1    I.    INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of Google’s Administrative Motion for Clarification of

 4 June 13, 2022 Discovery Order (Dkt. 700) (“Google’s Motion for Clarification”), which contains

 5 non-public, highly sensitive and confidential business information that could affect Google’s

 6 competitive standing and may expose Google to increased security risks if publicly disclosed,

 7 including details related to Google’s various types of internal logs and databases and their

 8 proprietary structures and functionalities. This information is highly confidential and should be

 9 protected.
10          This Administrative Motion pertains to the following information contained in Google’s
11 Motion for Clarification:

12     Document                    Portions to be Filed Under Seal                   Party Claiming
                                                                                     Confidentiality
13     Google’s                    Portions Highlighted in Yellow at:                Google
14     Administrative Motion
       for Clarification of June   Pages: 2:14, 2:16-17, 2:21, 2:22, 2:24, 3:23,
15     13, 2022 Discovery          4:6, 4:12, 4:13, 4:22
       Order (Dkt. 700)
16

17
     II.    LEGAL STANDARD
18
            A party seeking to seal material must “establish[] that the document, or portions thereof, are
19

20 privileged, protectable as a trade secret or otherwise entitled to protection under the law” (i.e., is

21 “sealable”). Civ. L.R. 79-5(b). The sealing request must also “be narrowly tailored to seek sealing

22 only of sealable material.” Id.
            In the context of dispositive motions, materials may be sealed in the Ninth Circuit upon a
23

24 showing that there are “compelling reasons” to seal the information. See Kamakana v. City & Cty.

25 of Honolulu, 447 F.3d 1172, 1179-80 (9th Cir. 2006). However, a party seeking to seal information

26 in a non-dispositive motion must show only “good cause.” Id. at 1179-80. The rationale for the
27 lower standard with respect to non-dispositive motions is that “the public has less of a need for

28 access to court records attached only to non-dispositive motions because these documents are often

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 1 unrelated, or only tangentially related, to the underlying cause of action” and that as a result “[t]he

 2 public policies that support the right of access to dispositive motions, and related materials, do not

 3 apply with equal force to non-dispositive materials.” Kamakana, 447 F.3d at 1179; see also TVIIM,

 4 LLC v. McAfee, Inc., 2015 WL 5116721, at *1 (N.D. Cal. Aug. 28, 2015) (“Records attached to non-

 5 dispositive motions are not subject to the strong presumption of access.”) (citation omitted). Under

 6 the “good cause” standard, courts will seal statements reporting on a company’s users, sales,

 7 investments, or other information that is ordinarily kept secret for competitive purposes. See

 8 Hanginout, Inc. v. Google, Inc., 2014 WL 1234499, at *1 (S.D. Cal. Mar. 24, 2014); Nitride

 9 Semiconductors Co. v. RayVio Corp., 2018 WL 10701873, at *1 (N.D. Cal. Aug. 1, 2018) (granting

10 motion to seal “[c]onfidential and proprietary information regarding [Defendant]’s products” under

11 “good cause” standard) (van Keulen, J.). Although the materials that Google seeks to seal here

12 easily meet the higher “compelling reasons” standard, the Court need only consider whether these

13 materials meet the lower “good cause” standard.

14 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED

15          Courts have repeatedly found it appropriate to seal documents that contain “business
16 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc’ns, Inc.,

17 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that

18 “contain[] confidential information about the operation of [the party’s] products and that public

19 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg. of

20 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that

21 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”

22 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at

23 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’

24 standard where that information could be used to the company’s competitive disadvantage”)

25 (citation omitted). Courts in this district have also determined that motions to seal may be granted

26 as to potential trade secrets. See, e.g., United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015
27 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]

28 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).
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 1          Here, Google’s Motion for Clarification comprises confidential and proprietary information

 2 regarding highly sensitive features of Google’s internal systems and operations that Google does

 3 not share publicly. Specifically, this information provides details related to various types of internal

 4 logs and databases and their proprietary structures and functionalities. Such information reveals

 5 Google’s internal strategies, system designs, and business practices for operating and maintaining

 6 many of its important services while complying with its legal and privacy obligations.

 7          Public disclosure of the above-listed information would harm Google’s competitive standing

 8 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

 9 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a

10 proper basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-

11 cv-02329-BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal

12 certain sensitive business information related to Google’s processes and policies to ensure the

13 integrity and security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co.,

14 No. 3:16-cv-02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales

15 data because “disclosure would harm their competitive standing by giving competitors insight they

16 do not have”); Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8,

17 2013) (granting motion to seal as to “internal research results that disclose statistical coding that is

18 not publically available”).

19          Moreover, if publicly disclosed, malicious actors may use such information to seek to

20 compromise Google’s data sources, including data logs, internal data structures, and internal

21 identifier systems. Google would be placed at an increased risk of cyber security threats. See, e.g.,

22 In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal. Sept. 25, 2013) (sealing

23 “material concern[ing] how users’ interactions with the Gmail system affects how messages are

24 transmitted” because if made public, it “could lead to a breach in the security of the Gmail system”).

25 The security threat is an additional reason for this Court to seal the identified information.

26          The information Google seeks to redact, including various types of Google’s internal
27 databases and their proprietary structures and functionalities, is the minimal amount of information

28 needed to protect its internal systems and operations from being exposed to not only its competitors
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 1 but also to nefarious actors who may improperly seek access to and disrupt these systems and

 2 operations. The “good cause” rather than the “compelling reasons” standard should apply but under

 3 either standard, Google’s sealing request is warranted.

 4   IV.   CONCLUSION

 5         For the foregoing reasons, the Court should seal the identified portions of Google’s Motion
 6 for Clarification.

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